         Case 6:15-cv-00028 Document 26 Filed in TXSD on 11/18/15 Page 1 of 2
                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                          November 18, 2015
                                 IN THE UNITED STATES DISTRICT COURT
                                                                           David J. Bradley, Clerk
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          VICTORIA DIVISION


MIRAMAR PETROLEUM, INC.,                           §
    Plaintiff,                                     §
                                                   §
v.                                                 §     CIVIL ACTION NO. V-15-0028
                                                   §
THE FIRST LIBERTY INSURANCE                        §
CORPORATION, et al.,                               §
     Defendants.                                   §


                                             FINAL JUDGMENT

           For the reasons stated in the accompanying Memorandum and Order and in the

Order [Doc. # 24] entered November 16, 2015, it is hereby

           ORDERED that Miramar Petroleum, Inc.’s Motion for Summary Judgment

[Doc. # 15] is DENIED, and it is further

           ORDERED that the Motions for Summary Judgment filed by Commerce &

Industry Insurance Company [Doc. # 14] and The First Liberty Insurance Corporation

[Doc. # 16] are GRANTED and all claims against them are DISMISSED WITH

PREJUDICE. It is further

           ORDERED that taxable costs are assessed against Plaintiff.

           This is a final, appealable judgment.



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         Case 6:15-cv-00028 Document 26 Filed in TXSD on 11/18/15 Page 2 of 2




           SIGNED at Houston, Texas, this_____
                                          18th day of November, 2015.




                                                      NAN Y F. ATLAS
                                             SENIOR UNI   STATES DISTRICT JUDGE




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